Case 3:11-cr-01097-LAB       Document 152        Filed 01/16/13    PageID.881      Page 1 of 1



  1
  2
  3
  4
  5
  6                           UNITED STATES DISTRICT COURT
  7                        SOUTHERN DISTRICT OF CALIFORNIA
  8
                                                                       11CR1097-LAB
  9    EMILIO ARCIENAGA-GARCIA,                               CASE NO. 12-CV-921-LAB
 10                                        Plaintiff,         ORDER DENYING § 2255
              vs.                                             PETITION
 11
 12    UNITED STATES OF AMERICA,

 13                                    Defendant.

 14
 15          Arcienaga-Garcia pleaded guilty on June 28, 2011 to conspiracy to import 100
 16   kilograms or more of marijuana. See 11-CR-1097. He was sentenced to 60 months in
 17   custody, and he waived appeal. Then, on April 13, 2012, he filed a federal habeas petition
 18   alleging that his counsel was ineffective, that his plea was not knowing, voluntary, and
 19   intelligent, and that his sentence violates his right to equal protection.
 20          The Court has reviewed the petition, as well as the Government’s response filed on
 21   May 15, 2012. It finds that Arcienaga-Garcia’s petition presents claims that are baseless on
 22   both the facts and the law, and in spots they are both frivolous and unintelligible. The
 23   petition is therefore DENIED. The Court also denies Arcienaga-Garcia a certificate of
 24   appealability. See 28 U.S.C. § 2253(c)(2).
 25          IT IS SO ORDERED.
 26   DATED: January 14, 2013
 27
                                                    HONORABLE LARRY ALAN BURNS
 28                                                 United States District Judge


                                                        -1-
